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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

 LETICIA L. RIVAS,

      Plaintiff,                                         Case No. 1:21-cv-00375

 v.

 DOLLAR FINANCE COMPANY,                                 Honorable Judge Randy Crane

      Defendant.


       PLAINTIFF’S MOTION TO MODIFY SCHEDULING ORDER TO EXTEND
        PRETRIAL DEADLINES AND STRIKE TRIAL RELATED DEADLINES

          NOW COMES Leticia L. Rivas (“Plaintiff”), moving this Honorable Court for an order

 extending the pretrial deadlines and striking trial related deadlines, and in support thereof,

 stating the following:

        1.         On September 28, 2021, Plaintiff filed the instant case against Defendant seeking

redress for violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et

seq., and the Texas Debt Collection Act (“TDCA”), Tex. Fin. Code Ann. § 392 et seq. [Dkt. 1]

        2.         On December 8, 2021, the Court entered a Scheduling Order requiring the parties

to submit pretrial motions by August 19, 2022. [Dkt. 17]

        3.         The Scheduling Order further set the following deadlines and dates:

             a. Motions Hearing on September 16, 2022.

             b. Joint Pretrial Order due by September 26, 2022.

             c. Final Pretrial Conference on October 3, 2022.

             d. Jury Selection on October 4, 2022.




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       4.      As set forth extensively in Plaintiff’s Motion to Compel Discovery (“Motion to

Compel”), Defendant has repeatedly failed to respond to discovery. See Dkt. 24.

       5.      On August 19, 2022, Plaintiff filed a Motion to Extend Pretrial Motions Deadline

(“Motion to Extend”) seeking to extend the pretrial motion deadline through September 9, 2022.

[Dkt. 26].

       6.      The extension of the pretrial deadline was needed as a direct result of Defendant’s

utter refusal to respond to Plaintiff’s discovery requests. Id.

       7.      On August 22, 2022, the Court granted the Motion to Extend and extended the

pretrial motion deadline through September 9, 2022. [Dkt. 27]

       8.      On August 30, 2022, the Court entered an Order (1) granting Plaintiff’s Motion to

Compel; (2) requiring Defendant to respond to the discovery within 14 days; (3) granting

Plaintiff’s request for her attorney’s fees for having to compel discovery; and (4) requiring Plaintiff

to submit a motion for attorney’s fees by September 2, 2022. [Dkt. 28]

       9.      Defendant’s refusal to respond to Plaintiff’s discovery requests has significantly

frustrated Plaintiff’s ability to (1) effectively prosecute her case; (2) file a dispositive motion by

the current pretrial motions deadline; and (3) meet all other pretrial deadlines set forth in the

Scheduling Order.

       10.     Simply put, Defendant’s refusal to respond to discovery and overall dilatory

 conduct in this case has wasted everyone’s time and resources, and has significantly frustrated

 the efficient administration of this case.

       11.     As of today, Defendant has yet to respond to Plaintiff’s discovery requests.




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         12.    Plaintiff intends on using the evidence procured through Defendant’s discovery

 responses to file a motion for summary judgment, which if granted, will render the trial

 deadlines moot.

      13.       Accordingly, Plaintiff is requesting that the Court extend (1) the pretrial motion

 deadline through October 12, 2022; and (2) the pretrial order deadline through November 2,

 2022.

      14.       Plaintiff further requests that the Court strike (1) the Motions Hearing set for

 September 16, 2022, (2) the final pretrial conference set for October 3, 2022 and (3) the jury

 selection set for October 4, 2022 pending Plaintiff’s forthcoming motion for summary judgment.

         15.    Based on the foregoing, there is good cause for the Court to grant the relief herein.

          WHEREFORE, Plaintiff respectfully requests an order (1) extending the pretrial motion

deadline through October 12, 2022; (2) extending the pretrial order deadline through November

2, 2022; (3) striking the Motions Hearing set for September 16, 2022; (4) striking the October 3,

2022 pretrial conference; and (5) striking the jury selection on October 4, 2022.

Dated: September 9, 2022                                      Respectfully Submitted,

                                                              /s/ Mohammed O. Badwan
                                                              Mohammed O. Badwan
                                                              Counsel for Plaintiff
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2022, I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the Southern District of Texas by

using the CM/ECF system and that service will be accomplished by the CM/ECF system.


                                                            /s/ Mohammed O. Badwan




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